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                                                                                                      Reset Form

 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3   '225'$6+,1&DQG                                )
     *58%+8%,1&                                      )            3:21-cv-05502
                                                            Case No: _______________
 4                                                      )
                                     Plaintiff(s),      )   APPLICATION FOR
 5                                                      )   ADMISSION OF ATTORNEY
              v.
                                                        )   PRO HAC VICE
 6   &,7<$1'&2817<2)                                )   (CIVIL LOCAL RULE 11-3)
     6$1)5$1&,6&2                                      )
 7                                                      )
                                     Defendant(s).
                                                        )
 8
         I, Brendan B. Gants                      , an active member in good standing of the bar of
 9    District of Columbia         , hereby respectfully apply for admission to practice pro hac vice in the
                                                     &KDPEHURI&RPPHUFHRIWKH8QLWHG6WDWHVRI$PHULFDDQG
                                                                                                  
10   Northern District of California representing: &DOLIRUQLD&KDPEHURI&RPPHUFH                          in the
                                                                  Justin P. Raphael
     above-entitled action. My local co-counsel in this case is __________________________________,               an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                                  LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      601 Massachusetts Avenue NW, Suite 500E                560 Mission Street, 27th Floor
14    Washington, DC 20001                                   San Francisco, CA 94105
       MY TELEPHONE # OF RECORD:                              LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (202) 220-1100                                         (415) 512-4000
       MY EMAIL ADDRESS OF RECORD:                            LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    Brendan.Gants@mto.com                                  Justin.Raphael@mto.com
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 1031419      .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 11/12/21                                                  Brendan B. Gants
22                                                                                  APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Brendan B. Gants                           is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated:
                                                              UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                     October 2012
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  On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                   the District of Columbia Bar does hereby certify that



             Brendan Benjamin Gants
         was duly qualified and admitted on April 11, 2016 as an attorney and counselor entitled to
                    practice before this Court; and is, on the date indicated below, a(n)
                              ACTIVE member in good standing of this Bar.




                                                                            In Testimony Whereof,
                                                                        I have hereunto subscribed my
                                                                        name and affixed the seal of this
                                                                             Court at the City of
                                                                         Washington, D.C., on March
                                                                                   18, 2021.




                                                                              JULIO A. CASTILLO
                                                                                Clerk of the Court




                                                                    Issued By:
                                                                             District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
